 

NORTHERN DISTRICT OF TEXAS

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Qs IN THE UNITED STATES DISTRICT COURT |
9 NORTHERN DISTRICT OF TEXAS FEB - | 2019
DALLAS DIVISION
U.S. DISTRICT COURT
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UNITED STATES OF AMERICA ; a
Vv. § Crim. Action No. 3:16-CR-479-N

§
CARLOS LUIS VENEGAS §

COURT’S CHARGE TO THE JURY

MEMBERS OF THE JURY:

In any jury trial there are, in effect, two judges. I am one of the judges; the other is
the jury. It is my duty to preside over the trial and to decide what evidence is proper for your
consideration. It is also my duty at the end of the trial to explain to you the rules of law that
you must follow and apply in arriving at your verdict.

First, I will give you some general instructions which apply in every case, for
example, instructions about burden of proof and how to judge the believability of witnesses.
Then I will give you some specific rules of law about this particular case, and finally I will
explain to you the procedures you should follow in your deliberations.

DUTY TO FOLLOW INSTRUCTIONS

You, as jurors, are the judges of the facts. But in determining what actually happened
~ that is, in reaching your decision as to the facts — it is your sworn duty to follow all of the
rules of law as I explain them to you.

You have no right to disregard or give special attention to any one instruction, or to

question the wisdom or correctness of any rule I may state to you. You must not substitute

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or follow your own notion or opinion as to what the law is or ought to be. It is your duty to
apply the law as I explain it to you, regardless of the consequences.

It is also your duty to base your verdict solely upon the evidence, without prejudice
or sympathy. That was the promise you made and the oath you took before being accepted
by the parties as jurors, and they have the right to expect nothing less.

PRESUMPTION OF INNOCENCE,
BURDEN OF PROOF, REASONABLE DOUBT

The indictment or formal charge against a defendant is not evidence of guilt. Indeed,
the defendant is presumed by the law to be innocent. A defendant begins with a clean slate.
The law does not require a defendant to prove his or her innocence or produce any evidence
at all.

The government has the burden of proving the defendant guilty beyond a reasonable
doubt, and if it fails to do so, you must acquit the defendant. While the government’s burden
of proof is a strict or heavy burden, it is not necessary that the defendant’s guilt be proved
beyond all possible doubt. It is only required that the government's proof exclude any
“reasonable doubt” concerning the defendant’s guilt.

A “reasonable doubt” is a doubt based upon reason and common sense after careful
and impartial consideration of all the evidence in the case. Proof beyond a reasonable doubt,
therefore, is proof of such a convincing character that you would be willing to rely and act

upon it without hesitation in the most important of your own affairs.

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EVIDENCE —- EXCLUDING WHAT IS NOT EVIDENCE

As I told you earlier, it is your duty to determine the facts. To do so, you must
consider only the evidence presented during the trial, including the sworn testimony of the
witnesses and the exhibits. Evidence is the sworn testimony of the witnesses, including
stipulations, and the exhibits. The questions, statements, objections, and arguments made by
the lawyers are not evidence.

The function of the lawyers is to point out those things that are most significant or
most helpful to their side of the case, and in so doing to call your attention to certain facts or
inferences that might otherwise escape your notice. In the final analysis, however, it is your
own recollection and interpretation of the evidence that controls in the case. What the
lawyers say is not binding upon you.

During the trial I sustained objections to certain questions and exhibits. You must
disregard those questions and exhibits entirely. Do not speculate as to what the witness
would have said if permitted to answer the question or as to the contents of an exhibit. Your
verdict must be based solely on the legally admissible evidence and testimony.

Also, do not assume from anything I may have done or said during the trial that I have
any opinion concerning any of the issues in this case. Except for the instructions to you on
the law, you should disregard anything I may have said during the trial in arriving at your

own findings as to the facts.

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EVIDENCE - INFERENCES -— DIRECT AND CIRCUMSTANTIAL

In considering the evidence, you are permitted to draw such reasonable inferences
from the testimony and exhibits as you feel are justified in the light of common experience.
In other words, you may make deductions and reach conclusions that reason and common
sense lead you to draw from the facts which have been established by the evidence.

Do not be concerned about whether evidence is “direct evidence” or “circumstantial
evidence.” You should consider and weigh all of the evidence that was presented to you.

“Direct evidence” is the testimony of one who asserts actual knowledge of a fact, such
as an eye witness. “Circumstantial evidence” is proof of a chain of events and circumstances
indicating that something is or is not a fact.

The law makes no distinction between the weight you may give to either direct or
circumstantial evidence. But the law requires that you, after weighing all of the evidence,
whether direct or circumstantial, be convinced of the guilt of the defendant beyond a
reasonable doubt before you can find him guilty.

CREDIBILITY OF WITNESSES

I remind you that it is your job to decide whether the government has proved the guilt
of the defendant beyond a reasonable doubt. In doing so, you must consider all of the
evidence. This does not mean, however, that you must accept all of the evidence as true or
accurate.

You are the sole judges of the credibility or “believability” of each witness and the

weight or importance to be given the witness’s testimony. An important part of your job will

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be making judgments about the testimony of the witnesses, including the defendant, who
testified in this case. You should decide whether you believe all, some part, or none of what
each person had to say, and how important that testimony was. In making that decision I
suggest that you ask yourself a few questions: Did the witness impress you as honest? Did
the witness have any particular reason not to tell the truth? Did the witness have a personal
interest in the outcome of the case? Did the witness have any relationship with either the
government or the defense? Did the witness seem to have a good memory? Did the witness
clearly see or hear the things about which he testified? Did the witness have the opportunity
and ability to understand the questions clearly and answer them directly? Did the witness’s
testimony differ from the testimony of other witnesses? These are a few of the
considerations that will help you determine the accuracy of what each witness said.

The testimony of the defendant should be weighed and his credibility evaluated in the
same way as that of any other witness.

Your job is to think about the testimony of each witness you have heard and decide
how much you believe of what each witness had to say. In making up your mind and
reaching a verdict, do not make any decisions simply because there were more witnesses on
one side than on the other. Do not reach a conclusion on a particular point just because there
were more witnesses testifying for one side on that point. You will always bear in mind that
the law never imposes upon a defendant in a criminal case the burden or duty of calling any

witnesses or producing any evidence.

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ACCOMPLICE—CO-DEFENDANT
PLEA AGREEMENT

In this case the government called witnesses who are alleged accomplices, named as
co-defendants in the indictment, with whom the government has entered into a plea
agreement. These agreements provide for the government to recommend a reduced sentence
if the government determines that the witness’s testimony substantially assisted the
government’s prosecution of the defendant. Such plea bargaining, as it is called, has been
approved as lawful and proper, and is expressly provided for in the rules of this court.

An alleged accomplice, including one who has entered into a plea agreement with the
government, is not prohibited from testifying. On the contrary, the testimony of such a
witness may alone be of sufficient weight to sustain a verdict of guilty. You should keep in
mind that such testimony is always to be received with caution and weighed with great care.
You should never convict a defendant upon the unsupported testimony of an alleged
accomplice unless you believe that testimony beyond a reasonable doubt.

The fact that an accomplice has entered a plea of guilty to the offense charged is not

evidence of the guilt of any other person.

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OPINION TESTIMONY

During the trial you heard the testimony of one witness who expressed opinions
concerning specialized matters. If scientific, technical, or other specialized knowledge might
assist the jury in understanding the evidence or in determining a fact in issue, a witness
qualified by knowledge, skill, experience, training, or education may testify and state an
opinion concerning such matters. Merely because such a witness has expressed an opinion
does not mean, however, that you must accept this opinion. You should judge such
testimony like any other testimony. You may accept it or reject it and give it as much weight
as you think it deserves, considering the witness’s education and experience, the soundness
of the reasons given for the opinion, and all other evidence in the case.

ON OR ABOUT

You will note that the indictment charges that the offenses were committed on or
about a specified date. The government does not have to prove that a crime was committed
on an exact date, so long as the government proves beyond a reasonable doubt that the
defendant in question committed the crime on a date reasonably near the date stated in the
indictment.

CAUTION — CONSIDER ONLY CRIME CHARGED

You are here to decide whether the government has proved beyond a reasonable doubt

that the defendant is guilty of the crimes charged. The defendant is not on trial for any act,

conduct, or offense not alleged in the indictment. Neither are you called upon to return a

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verdict as to the guilt of any other person or persons not on trial as a defendant in this case,
except as you are otherwise instructed.
CAUTION — PUNISHMENT
Ifthe defendant is found guilty, it will be my duty to decide what the punishment will
be. You should not be concerned with punishment in any way. It should not enter your
consideration or discussion.
“KNOWINGLY” — TO ACT
The word “knowingly,” as that term is used from time to time in these instructions,
means that the act was done voluntarily and intentionally, not because of mistake or accident
by the defendant.
DELIBERATE IGNORANCE
You may find that a defendant had knowledge of a fact if you find that the defendant
deliberately closed his eyes to what would otherwise have been obvious to him. While
knowledge on the part of the defendant cannot be established merely by demonstrating that
the defendant was negligent, careless, or foolish, knowledge can be inferred if the defendant
deliberately blinded himself to the existence of a fact.
TRANSCRIPT
Certain exhibits have been identified as typewritten transcripts of the oral conversation
which can be heard on recordings received in evidence. The transcripts also purports to

identify the speakers engaged in such conversation.

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I have admitted the transcripts for the limited and secondary purpose of aiding you in
following the content of the conversation as you listen to the recording, and also to aid you
in identifying the speakers.

You are specifically instructed that whether a transcript correctly or incorrectly
reflects the content of the conversation or the identity of the speakers is entirely for you to
determine based upon your own evaluation of the testimony you have heard concerning the
preparation of the transcript, and from your own examination of the transcript in relation to
your hearing of the recording itself as the primary evidence of its own contents; and, if you
should determine that the transcript is in any respect incorrect or unreliable, you should
disregard it to that extent. It is what you hear on the recording that is evidence, not the
transcripts.

SUMMARIES AND CHARTS NOT RECEIVED IN EVIDENCE

Certain charts and summaries have been shown to you solely as an aid to help explain
the facts disclosed by evidence (testimony, books, records, and other documents) in the case.
These charts and summaries are not admitted evidence or proof of any facts. You should
determine the facts from the evidence that is admitted.

SUMMARIES AND CHARTS RECEIVED IN EVIDENCE
Certain charts and summaries have been received into evidence. You should give

them only such weight as you think they deserve.

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COUNT ONE
CONSPIRACY TO DISTRIBUTE AND
DISPENSE A CONTROLLED SUBSTANCE
21 U.S.C. § 846

Title 21, United States Code, Section 846, makes it a crime for anyone to conspire
with someone else to commit a violation of certain controlled substances laws of the United
States. In this case, the defendant is charged with conspiring to possess with intent to
distribute hydrocodone, a Schedule II or Schedule III controlled substance, outside the scope
of professional practice and not with a legitimate medical purpose.

A “conspiracy” is an agreement between two or more persons to join together to
accomplish some unlawful purpose. It is a kind of “partnership in crime” in which each
member becomes the agent of every other member.

For you to find the defendant guilty of this crime, you must be convinced that the
government has proved each of the following beyond a reasonable doubt:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or dispense a controlled substance outside the scope of professional practice and
without a legitimate medical purpose;

Second: That the defendant knew of the unlawful purpose of the agreement; and

Third: That the defendant joined in the agreement willfully, that is, with the intent to

further its unlawful purpose.

Hydrocodone is a controlled substance within the meaning of the law.

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One may become a member of a conspiracy without knowing all the details of the
unlawful scheme or the identities of all the other alleged conspirators. If a defendant
understands the unlawful nature of a plan or scheme and knowingly and intentionally joins
in that plan or scheme on one occasion, that is sufficient to convict him for conspiracy even
though the defendant had not participated before and even though the defendant played only
a minor part.

The government need not prove that the alleged conspirators entered into any formal
agreement, nor that they directly stated between themselves all the details of the scheme.
Similarly, the government need not prove that all of the details of the scheme alleged in the
indictment were actually agreed upon or carried out, nor must it prove that all of the persons
alleged to have been members of the conspiracy were such, or that the alleged conspirators
actually succeeded in accomplishing their unlawful objectives.

Mere presence at the scene of an event, even with knowledge that a crime is being
committed, or the mere fact that certain persons may have associated with each other and
may have assembled together and discussed common aims and interests, does not necessarily
establish proof of the existence of a conspiracy. A person who has no knowledge of a
conspiracy, but who happens to act in a way that advances some purpose of a conspiracy,
does not thereby become a conspirator.

The Federal Controlled Substances Act, Title 21, United States Code, Section
841(a)(1) makes it a crime for anyone to knowingly or intentionally dispense or distribute a

controlled substance without lawful authority. However, under the Controlled Substances

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Act, a medical doctor or physician’s assistant, properly licensed and registered, may lawfully
dispense controlled substances by issuing prescriptions for a legitimate medical purpose if
the doctor is acting within the usual course of professional practice.

The phrase “usual course of professional practice” means acting in accordance with
a standard of medical practice generally recognized and accepted in the United States. This
is an objective standard that considers what is generally recognized in the medical profession,
not what an individual practitioner subjectively believes the standard should be.

A controlled substance is prescribed by a physician in the usual course of professional
practice, and therefore lawfully, ifthe substance is prescribed by him in good faith, medically
treating a patient in accordance with a standard of medical practice generally recognized and
accepted in the United States. “Good faith” in this context means an honest effort to
prescribe for a patient’s condition in accordance with the standards of medical practice
generally recognized or accepted in this country.

Federal law further provides that an order seeming to be a prescription issued not in
the usual course of professional practice is not a lawful prescription within the meaning of
the Controlled Substances Act. A person issuing such an order shall be subject to the
penalties provided for violations of the Controlled Substances Act. Thus, responsibility for
the proper prescribing and dispensing of controlled substances is upon the prescribing
practitioner.

The term “dispense” means to deliver a controlled substance by, or pursuant to the

lawful order of, a practitioner, including the prescribing of the controlled substance for such

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delivery. The term “distribute” is broader in scope than the term “sale,” and means to
deliver, other than by administering or dispensing.
“Practitioner” means a physician or physician’s assistant licensed or registered to

distribute or dispense a controlled substance in the usual course of professional practice.

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DUTY TO DELIBERATE — VERDICT FORM

To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your
verdict must be unanimous on each count of the indictment. Your deliberations will be
secret. You will never have to explain your verdict to anyone.

It is your duty to consult with one another and to deliberate in an effort to reach
agreement if you can do so. Each of you must decide the case for yourself, but only after an
impartial consideration of the evidence with your fellow jurors. During your deliberations,
do not hesitate to reexamine your own opinions and change your mind if convinced that you
were wrong. But do not give up your honest beliefs as to the weight or effect of the evidence
solely because of the opinion of your fellow jurors, or for the mere purpose of returning a
verdict.

Any notes that you have taken during this trial are only aids to your memory. If your
memory differs from your notes, you should rely on your memory and not on the notes. The
notes are not evidence. If you have not taken notes, you should rely on your independent
recollection of the evidence and should not be unduly influenced by the notes of other jurors.
Notes are not entitled to any greater weight than the recollection or impression of each juror
about the testimony. Even though the court reporter is making stenographic notes of
everything that is said, a typewritten copy of the testimony will not be available for your use
during deliberations. On the other hand, the exhibits will be available to you during your

deliberations.

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Remember at all times, you are judges — judges of the facts. Your sole duty is to
decide whether the government has proved the defendant guilty beyond a reasonable doubt.

When you go to the jury room, the first thing that you should do is select one of your
number as your presiding juror, who will help to guide your deliberations and will speak for
you here in the courtroom.

A form of verdict has been prepared for your convenience.

The presiding juror will write the unanimous answer of the jury in the space provided
for in each count of the indictment, either guilty or not guilty. At the conclusion of your
deliberations, the presiding juror should date and sign the verdict.

If you need to communicate with me during your deliberations, any juror may write
the message and give it to the Court Security Officer. I will either reply in writing or bring
you back into the court to answer your message.

Bear in mind that you are never to reveal to any person, not even to me, how the jury
stands, numerically or otherwise, on any count of the indictment, until after you have reached
a unanimous verdict.

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Signed this the l day of February, 2019.

  

David C. Godbey
United States District Judge

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